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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA
                                  Case No. 21-mj-54 (HB)

                             AFFIDAVIT OF SARA THOMAS
                        IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Sara Thomas, being duly sworn, depose and state as follows:


       1.      Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), and has been since December of 2016. I am an investigator or law enforcement

officer of the United States within the meaning of Section 2510(7) of Title 18, United States Code;

that is, an officer of the United States who is empowered by law to conduct investigations of and

to make arrests for offenses enumerated in Section 2516 of Title 18, United States Code. Your

affiant has participated in numerous criminal investigations of individuals and entities

related to violations of Federal Laws, particularly those under Titles 18, 21, and 26 of the

United States Code.

       2.      This Affidavit is submitted in support of a criminal complaint charging Dayton

Charles Sauke (hereafter identified as “Sauke”) with being in possession of an unregistered

firearm, in violation of 21 U.S.C. §§ 5841, 5861(d), and 5871. The facts set forth herein are based

on my review of law enforcement reports and conversations I have had with other law enforcement

personnel. The facts set forth herein do not include all the facts related to this investigation, just

those facts necessary to support probable cause for the charge alleged in the Complaint.

       3.      On Friday, July 30, 2020, the Olmsted County Sheriff’s Office (OCSO)

informed your affiant that a Confidential Informant provided information that Sauke was

selling narcotics and engaged in manufacturing and/or dealing firearms without a license.

The Confidential Informant recalled seeing Sauke offer a manufactured firearm for sale on




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the social media platform Snapchat in the past. The Confidential Informant provided screen

shots of Sauke’s Snapchats. 1

         4.    Your affiant and the OCSO attempted to corroborate the information and

locate the posts, but learned that Sauke’s posts were only visible to his friend group on

Snapchat. The OCSO informed your affiant that there were no other known avenues to

pursue in order to purchase firearms from Sauke.

         5.    On December 6, 2020, an ATF special agent acting undercover sent Sauke a

friend request on Snapchat using an undercover profile. Sauke accepted the friend request,

making future posts visible to the ATF. From December 6, 2020 through today’s date, the

ATF monitored Sauke’s Snapchat account. Sauke made numerous posts consistent with

manufacturing and dealing firearms without a license, as well as using drugs and dealing

drugs.

         6.    On December 26, 2020, Sauke posted pictures of what he represented to be a

“sawn-off” shotgun in a vehicle:




1Photos contained in this affidavit that are not dated between December 6, 2020 and
January 14, 2021, or that have a gray colored phone instead of a black colored phone,
are from the Confidential Informant prior to the ATF’s undercover monitoring and
contacts with Sauke.
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7.   The following post appeared on January 5, 2021:




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Notably, in the above post, Sauke indicates he does not care if he is helping felons conceal

and carry everywhere they go in 2021.

8.     On January 8, 2021, Sauke posted the following on Snapchat:




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       9.      Also on January 8, 2021, law enforcement obtained paperwork from Sauke’s

probation officer which included forms filled out by Sauke during December 2020. 2 In these

forms, Sauke documented that he has “a real urge to kill”, is “a very angry person consumed


2
 On November 6, 2019, Sauke was sleeping in the driver’s seat of a running vehicle parked on a
street and had a suspended license. A deputy approached Sauke and woke him up. The deputy saw
a medication bottle and learned it contained Promethazine with Codeine, which requires a
prescription. Sauke admitted he did not have a prescription. The deputy then found a loaded
shotgun, a vape containing THC liquid, two vape components containing THC, and two counterfeit
$100 bills. Sauke was on probation for carrying a firearm in public at the time of this incident.
Sauke pled guilty to gross misdemeanor 5th degree possession of a controlled substance and
misdemeanor illegal transport of a firearm. Sauke was sentenced to a statutory stay of adjudication
(no conviction) on the controlled substance offense, and paid a fine for the firearm offense (deemed
a petty misdemeanor conviction under Minnesota law). He is currently under supervision for this
offense.

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by hate”, and his “anger and hatred for people is valid.” Sauke also documented on the

forms:

            x   “I carry guns wherever I go and wish that somebody ANYBODY would find

                the courage to play games with me.”

            x   “It’s a Christmas miracle that I haven’t put anyone in the dirt yet.”

            x   “Smoking bud helps me avoid triggering my anger. When sober me snaps

                someone’s neck don’t say I didn’t warn you. The court system is seriously

                playing with fire for no good reason.”

            x   “Cops can feel my wrath too. I’ve been tazed, stabbed and numbed numerous

                times that shit doesn’t phase me. Its not a matter of if it’s a matter of when.”

10.      On January 12, 2021, Sauke made the following threatening posts:




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       11.    On January 14, 2021, Sauke arranged to sell the undercover ATF agent a

firearm he had advertised on Snapchat. Sauke informed the undercover agent that the gun

wouldn’t be ready until Friday afternoon (January 15), because he was waiting on the frame.

Sauke and the undercover agent then exchanged a series of text messages to arrange

logistics for the transaction. During these conversations, Sauke also agreed that he would

customize a second gun that he would build specifically for the agent.

       12.    As a result of the communications between Sauke and the undercover agent,

on Friday, January 15, 2021, the ATF engaged in a controlled purchase of a privately made

firearm from Sauke. Sauke arrived at the meeting spot he had prearranged with the agent,

a parking lot of a business in Faribault, Minnesota, and met with the undercover agent with

whom he had been communicating, as well as a second undercover agent who accompanied

the first agent, posing as another potential customer. Sauke sold the privately made firearm

to the first agent for $1,500. Sauke then discussed manufacturing additional firearms for

both of the undercover agents. Sauke told the undercover agents that he charges $450 up

front for each gun, followed by $250 once the firearm is complete. The undercover agents

agreed to purchase two additional firearms from Sauke and paid him $900 toward those

purchases.

       13.    During the transaction, Sauke told the undercover agents that he sold 120

Glocks in 2020. Sauke indicated that he was able to sell firearms at a lower price than his

competition due to his high volume of customers. Sauke also showed the undercover Agents

photographs on his cell phone of firearms they could purchase. During the conversation,

Sauke also said he had a sawed-off shotgun in his car, and normally carries a 1911 firearm.

Sauke was taken into custody once the controlled purchase was completed.




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       14.    After Sauk was taken into custody, Your Affiant could see in plain view what

appeared to be a short barreled shotgun next to a box of shotgun ammunition on the rear

floorboard of the vehicle Sauke had driven to the location. From what Your Affiant could see,

the short barreled shotgun appeared similar to the gun shown in photos Sauke posted on

Snapchat on December 26, 2020:




       15.    The vehicle was towed to the Faribault Police Department and Your Affiant

obtained a federal search warrant for the vehicle. Pursuant to the warrant, ATF Group

Supervisor (GS) Special Agent Calvin Meyer recovered the firearm from Sauke’s vehicle.




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Hildy Bowbeer
United States Magistrate Judge




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